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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,  )                      CASE NO. 1:08CR64
                           )
           PLAINTIFF       )                      JUDGE PETER C. ECONOMUS
                           )
     V.                    )
                           )
D.N.A. SELESTEEN, INC.,    )
dba GOLDCOAST FOOD MARKET, )
                           )                      ORDER
           DEFENDANT.      )
                           )


       This matter is before the Court upon Magistrate Judge Limbert’s Report and

Recommendation that the Court ACCEPT Defendant D.N.A. Selesteen Inc.,

dba Goldcoast Food Market (“Defendant”) plea of guilty and enter a finding of guilty

against Defendant. (Dkt. # 27).

       On February 6, 2008, the government filed an information against Defendant.

(Dkt. #11). On February 8, 2008, this Court issued an order assigning this case to

Magistrate Judge George J. Limbert for the purpose of arraignment and receiving

Defendant’s guilty plea. (Dkt. # 2). Defendant, through its corporate representative,

Maher J. Ali, waived indictment. (Dkt. # 19).

       On February 27, 2008, a hearing was held in which Defendant, through its

corporate representative, entered a plea of guilty to Counts 1 and 2 of the information,

conspiracy and conspiracy to commit money laundering, in violation of 18 U.S.C. §§
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371 and 1956(h). Magistrate Judge Limbert received Defendant’s guilty plea and

issued a Report and Recommendation (“R&R”) recommending that this Court accept

the plea and enter a finding of guilty. (Dkt. # 27).

          Neither party objected to the Magistrate Judge’s R&R in the ten days after it was

issued.

          On de novo review of the record, the Magistrate Judge’s R&R is adopted. The

Defendant was found to be competent to enter a plea. The Defendant understood his

constitutional rights. He is aware of the consequences of entering a plea. There is an

adequate factual basis for the plea. The Court finds that the plea was entered

knowingly, intelligently, and voluntarily. The Defendant’s plea of guilty is approved.

          Therefore, the Defendant is adjudged guilty of Counts 1 and 2 in violation of 18

U.S.C. §§ 371 and 1956(h). The sentencing will be held on May 29, 2008, at 10:30

a.m.

          IT IS SO ORDERED.

                                      /s/ Peter C. Economus - March 14, 2008
                                      PETER C. ECONOMUS
                                      UNITED STATES DISTRICT JUDGE
